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United States District Court September 9, 2020
Central District of California

 

 

 

CENTRAL DISTRICT OF CALIFORNIA

United States of America BY: CMJ DEPUTY

 

 

 

Plaintiff
Case Number
CR-04-1189(A)-CAS

Gabriel Gonzalez
Defendant, Pro Se

Motion for Appointment of Counsel

Gabriel Gonzalez asks this honorable court to appoint counsel in this matter
pursuant to the Criminal Justice Act of 18 U.S.C. § 3006 A(a)(1) & (c).

Gonzalez has recently experienced a rash of unexplained interference with
his legal mail filings to this court. He has had approximately half-a-dozen pleadings
and sets of exhibits returned to him which prevented this court from considering
its important contents. This obstruction appears to have affected his filings from
July and August 2020 and coincide with the timing of this court's order for discovery
into Gonzalez' prison medical records.

Gonzalez has shown the falsities, manipulations, and errors in the prison's
reporting of his Coronavirus condition which he supports with dated documents showing
he has begged for medical treatment for his COVID-19 infection. Instead, the prison
has now denied Gonzalez two of his chronic care medications (Omeprazole and Methimazole)
seemingly as punishment for his pursuit in litigating this matter while exposing
this prison's deficiencies.

Due to the complex nature of this issues Gonzalez presents, the fact that
the prison remains on lockdown, and regular access to the prison's law library is
curtailed, the inability to send this court his legal filings without impediment
and delay, and the newfound attack he endures for challenging the prison's handling

of the Coronavirus, warrant this court's intervention by granting him counsel to
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fairly present his cause without cbstruction or further delay.
Gonzalez prays this court grant his request for appointment of counsel and
provides him an opportunity to present the information, facts, and documents he

diligently tried to provide this court before these deterrents occured.

Verification

I have read the foregoing Motion for Appointment of Counsel and hereby verify
that the matters alleged herein are true, except as to matters alleged on information
and belief, and as to those, I believe them to be true and correct. Executed at
Forrest City, Arkansas on this ist day of September, 2020.

Gabriel Gonzalez
Defendant, Pro Se

Certificate of Service

I certify under the penalty of perjury that the foregoing Motion for Appointment
of Counsel was placed in the prison's internal mail system, postage pre-paid, for
service upon this court via U.S. mail on this 1st day of September to 255 E. Temple
Avenue rm. 180 Los Angeles, California 90012. Gonzalez asks this court's clerk
to serve all other interested parties by electronic notification and to provide
him with a stamped filed copy of this motion.

Gabriel Gonzalez
Defendant, Pro Se
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Name: Gonzalez, G 09-01-2020
Number #30515-112
Unit: WD

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